
USCA1 Opinion

	





                                [NOT FOR PUBLICATION]
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT




                                 ____________________


        No. 95-1499

                                    UNITED STATES,
                                      Appellee,

                                          v.

               SANTOS REYES-DE LA CRUZ, A/K/A SANTOS REYES-CRUZ, A/K/A,
                                    ANTONIO GERMAN
                                Defendant, Appellant.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO


                    [Hon. Hector M. Laffitte, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge.
                                          ___________
                          Boudin and Lynch, Circuit Judges.
                                            ______________

                                
                                 ____________________


            Benicio  Sanchez Rivera, Federal  Public Defender,  and Gustavo A.
            _______________________                                 __________
        Gelpi, Assistant Federal Public Defender, on brief for appellant.
        _____
            Guillermo  Gil, United  States Attorney,  Jose A. Quiles-Espinosa,
            ______________                            _______________________
        Senior Litigation Counsel,  Ernesto Hernandez-Milan, Assistant  United
                                    _______________________
        States  Attorney,  and  Nelson  Perez-Sosa,  Assistant  United  States
                                __________________
        Attorney, on brief for appellee.


                                 ____________________

                                   October 6, 1995
                                 ____________________




















                 Per Curiam.  Appellant-defendant Santos Reyes de la Cruz
                 __________

            appeals on the sole  ground that the district court  erred in

            denying  his  motion  for   a  downward  departure  from  the

            guideline sentencing  range pursuant to  4A1.3  of the United

            States  Sentencing  Guidelines (U.S.S.G.).    "It  is by  now

            axiomatic that  a criminal defendant cannot  ground an appeal

            on a sentencing court's  discretionary decision not to depart

            below  the  guideline  sentencing  range." United  States  v.
                                                       ______________

            Pierro, 32 F.3d 611, 619 (1st Cir. 1994),   cert. denied, ___
            ______                                      ____  ______

            U.S  ___,  115  S.Ct.   919  (1995).    There   is  appellate

            jurisdiction, however,  "where the decision not  to depart is

            based on  the sentencing  court's assessment  of its  lack of

            authority or power to depart." United States v. Morrison,  46
                                           _____________    ________

            F.3d 127, 130 (1st Cir. 1995).

                      In   determining   whether  the   sentencing  court

            mistakenly believed it lacked  authority to depart or "merely

            refused  to exercise  its discretionary  power to  depart, we

            consider  the  totality  of  the record  and  the  sentencing

            court's actions reflected therein." Morrison, 46 F.3d at 130.
                                                ________

            The transcript from the sentencing hearing, considered in its

            entirety, indicates that the district court was well aware of

            its authority to depart pursuant to U.S.S.G.  4A1.3.  

                      The  judge read aloud  the relevant  paragraph from

            that section which authorizes departures where a  defendant's

            criminal history category "significantly  over-represents the



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            seriousness of  a defendant's criminal  history . . .  ."  He

            then concluded  that such  circumstances were not  present in

            this  case.    That  determination was  an  exercise  of  his

            discretion and is not  reviewable on appeal.  See  Pierro, 32
                                                          ___  ______

            F.3d at  619 (explaining  that where  a judge  concludes that

            "'this circumstance of which [the defendant] speak[s] has not

            been shown to exist in this case,'" no appeal lies.).

                      The sentencing judge's statements that,  absent the

            guidelines, he  would have imposed  a less harsh  sentence do

            not reveal  a misapprehension about his  authority to depart.

            Rather, they  represent his correct understanding  that he is

            restrained by the guidelines in sentencing the defendant. 

                      We lack jurisdiction to review the district court's

            refusal to depart.  Therefore, the appeal is dismissed.  Loc.
                                                         _________

            R. 27.1.



                   



















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